            Case 3:05-cr-00568-EMC           Document 31        Filed 03/24/06      Page 1 of 2



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    TRACIE L. BROWN (CSBN 188349)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102
        Telephone: (415) 436-6917
7       Facsimile: (415) 436-7234
8    Attorneys for Plaintiff
9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,                     )       No. CR 05-00568 VRW
13                                                 )
            Plaintiff,                             )
14                                                 )       STIPULATION AND [PROPOSED]
       v.                                          )       ORDER CONTINUING DEFENDANT’S
15                                                 )       MOTION AND EXCLUDING TIME
     FRANK TYRAN CLARK, et al.                     )       FROM THE SPEEDY TRIAL ACT
16                                                 )       CALCULATION AS TO FRANK TYRAN
           Defendants.                             )       CLARK
17   _________________________________             )
18
19
20          The parties appeared before the Court on December 13, 2005 for a status hearing and
21   setting of a motions hearing date. Pursuant to the schedule set by the Court, the Defendant filed
22   his Motion to Disclose Identity of Confidential Informants (“Motion”) on March 7, 2006. The
23   government’s opposition brief is currently due on March 21, 2006. However, the parties believe
24   that further meet and confer discussions may obviate some, if not all, of the Motion. The parties
25   therefore jointly request that the Motion, currently set for hearing on April 11, 2006, be
26   continued until May 16, 2006, with the government’s opposition brief due on April 25, 2006 and
27   the Defendant’s reply due on May 2, 2006. The additional time is needed for discussions
28   between the parties (as well as the DEA) and as the government’s counsel is set for trial the week

     CR 05-568 VRW
     STIP. & [PROP.] ORDER CONT’G MTN.                 1
            Case 3:05-cr-00568-EMC          Document 31         Filed 03/24/06        Page 2 of 2



1    of March 27, 2006.
2           As the Defendant’s Motion will remain pending, time is excluded pursuant to the Speedy
3    Trial Act.
4           Accordingly, with the agreement of the parties, and with the consent of the Defendant, the
5    Court enters this order as follows:
6           1. The Motion, currently set for hearing on April 11, 2006, is continued until May 16,
7    2006, with the government’s opposition brief due on April 25, 2006 and the Defendant’s reply
8    brief due on May 2, 2006.
9           2. The time from March 7, 2006 to May 16, 2006 is excluded from Speedy Trial Act
10   calculations pursuant to 18 U.S.C. § 3161(h)(1)(F).
11
            IT IS SO STIPULATED.
12
13   DATED: _____3/15/06________________                              /S/
                                                           TRACIE L. BROWN
14                                                         Assistant United States Attorney
15
16   DATED: _____________________                                     /S/
                                                           GERI LYNN GREEN
17                                                         Attorney for Frank Tyran Clark
                                                                            ISTRIC
18
                                                                       TES D      TC
                                                                     TA
19
                                                                                             O
            IT IS SO ORDERED.
                                                                S




                                                                                              U
                                                               ED




                                                                                               RT

                                                                                   D
                                                                             RDERE
20
                                                           UNIT




                                                                       S O O
21          March 24, 2006
     DATED:_____________________                                 IT IS
                                                           ________________________________
                                                                                                     R NIA


                                                           THE HON. VAUGHN R. WALKER
22                                                         United States Chief District Judge
                                                                                       Walker
                                                           NO




                                                                            aughn R
                                                                     Judge V
                                                                                                     FO




23
                                                            RT




                                                                                                 LI




24
                                                                    ER
                                                               H




                                                                                             A




                                                                         N                       C
                                                                                             F
25                                                                           D IS T IC T O
                                                                                   R
26
27
28

     CR 05-568 VRW
     STIP. & [PROP.] ORDER CONT’G MTN.              2
